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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                                 Eastern Division

Suzana Krajisnik
                                   Plaintiff,
v.                                                      Case No.: 1:21−cv−00775
                                                        Honorable John Z. Lee
C.D. Peacock, Inc., et al.
                                   Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, April 22, 2021:


       MINUTE entry before the Honorable John Z. Lee: Pursuant to the notice of
dismissal, this case is dismissed without prejudice. Civil case terminated. (ca, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
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